         1:15-cv-01447-MMM # 82                 Page 1 of 2
                                                                                                                E-FILED
                                                                       Wednesday, 22 March, 2017 04:51:53 PM
                                                                                Clerk, U.S. District Court, ILCD
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     PEORIA DIVISION

SANDRA BROWN, #R35900, et al.,                           )
                                                         )
                 Plaintiffs,                             )
                                                         )
        vs.                                              )             No. 15-1447-MMM
                                                         )
ANGELA LOCKE, et al.,                                    )
                                                         )
                 Defendants.                             )

                                      NOTICE OF APPEARANCE

        To the Clerk of this Court and all parties of record:
        NOW COMES Lisa Madigan, Attorney General for the State of Illinois, by Lisa Cook,
Assistant Attorney General, State of Illinois, hereby re-enters 1 her appearance on behalf of
Defendants JOHN BALDWIN, DAVID BRAINARD, CHRISTINE BRANNON, DANA
CHAUDOIN (sued as “Chaddon”), CLARA CHARRON (sued as “Sharon”), DEBBIE
DENNING, RENEE HATFIELD, PENNY JOHNSON, AARON LEESMAN, TAMMY LINNE,
ANGELA LOCKE, JEFF MASON, JOSHUA MERREIGHN, DUSTY MONTGOMERY, J.
NESWICK, ALAN PASLEY, MONICA SLATER, SHABEDA WARDEN-PENNINGTON,
JOSEPH YURKOVICH, and FELIPE ZAVALA, in the above cause.
        Assistant Attorney General Lisa Cook certifies that she is an attorney in good standing with
the State of Illinois, and is admitted to practice in the United States District Court, for the Central
District of Illinois.
                                                         Respectfully submitted,

                                                         LISA MADIGAN, Illinois Attorney General,
Lisa Cook, #6298233
Assistant Attorney General                               Attorney for Defendants,
500 South Second Street
Springfield, Illinois 62701
(217) 557-7081 Phone                                 By: s/Lisa Cook
(217) 524-5091 Fax                                      LISA COOK
lcook@atg.state.il.us                                   Assistant Attorney General
1 July 2016, Assistant Attorney General Lisa Cook left the Attorney General’s Office, but has returned and has been
reassigned to this case.
        1:15-cv-01447-MMM # 82             Page 2 of 2



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS
                                  PEORIA DIVISON

SANDRA BROWN, #R35900, et al.,                    )
                                                  )
               Plaintiffs,                        )
                                                  )
       vs.                                        )           No. 15-1447-MMM
                                                  )
ANGELA LOCKE, et al.,                             )
                                                  )
               Defendants.                        )

                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 22, 2017, the foregoing document, Notice of Appearance,
was electronically filed with the Clerk of Court using the CM/ECF system which will send
notification of such filing to the following:

       Arthur Loevy                    loevylaw@loevy.com
       Jonathan Loevy                  jon@loevy.com
       Michael Kanovitz                mike@loevy.com
       Ruth Brown                      ruth@loevy.com
       Tara Thompson                   tara@loevy.com
       Gary S. Caplan                  gcaplan@atg.state.il.us
       Jennifer M. Lutzke              jlutzke@atg.state.il.us
       Laura K. Bautista               lbautista@atg.state.il.us
       Leigh J. Richie                 lrichie@atg.state.il.us


                                                      Respectfully Submitted,

                                                        s/Lisa Cook
                                                      Lisa Cook, #6298233
                                                      Assistant Attorney General
                                                      Attorney for Defendant
                                                      500 South Second Street
                                                      Springfield, Illinois 62701
                                                      (217) 557-7081 Phone
                                                      (217) 524-5091 Fax
                                                      E-Mail: lcook@atg.state.il.us
